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                                    Jose Henriquez
                                  February 03, 2022

                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF FLORIDA




         TROY CLOWDUS,

                            Plaintiff,



         vs.                                     Civil Action No.:

                                                 1:21-cv-23155-MM

         AMERICAN AIRLINES, INC.,



                            Defendant,




                                     FEBRUARY 3, 2022

                      Zoom deposition of JOSE HENRIQUEZ, held via

         remote teleconference hosted by U.S. LEGAL SUPPORT,

         located at 1818 Market Street, Suite 1400, Philadelphia,

         Pennsylvania, on Thursday, February 3, 2022, at

         approximately 9:58 a.m., before Erin Gaffney,

         Stenographer and Notary Public in and of the Commonwealth

         of Pennsylvania.




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   1     APPEARANCES:

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   3     ON BEHALF OF THE PLAINTIFF:

   4     STONE    &   WOODROW LLP

   5     BY:     WILLIAM T. WOODROW, ESQUIRE

   6     250 West Main Street, Suite 201

   7     Charlottesville, Virginia 22902

   8     (855) 275-7378

   9     will @stoneandwoodrowlaw.com

  10     (Zoom appearance)

  11

  12     ON BEHALF OF THE DEFENDANT:

  13     LABOR    &   EMPLOYMENT PRACTICE GROUP

  14     BY:     KELLY KOLB, ESQUIRE

  15     401 East Las Olas Boulevard, Suite 2250

  16     Fort Lauderdale, Florida 33301

  17     (954) 703-3944

  18     kelly.kolb@bipc.com

  19     (Zoom appearance)

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  21

  22

  23

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   1     the alleged assault claimed by Mr. Marino occurred?

   2     A.        I was outside the aircraft at the door,           just

   3     waiting for the flight attendant to close the door.                So

   4     we were ready for departure.

   5     Q.        Okay.    So you -- you were at the aircraft then

   6     at the time?

   7     A.        Yes.    The reason is it's -- we call the Right

   8     Start.    It's -- some particular flights in the morning

   9     that American Airlines they want to make sure that they

  10     leave on time because that'll do the domino effect for

  11     the entire day.      So they call it the Right Starts.

  12     Q.        The Right, R-i-g-h-t?

  13     A.        What is it?      Repeat --

  14     Q.        Did you say "Right Start"?

  15     A.        Yeah, Right.

  16     Q.        Okay.    Okay.

  17     A.        It has to be perfect.        So we the GSCs or the

  18     CSCs in the morning, first time in the morning, we are

  19     assigned specifically to some flights.            And I was

  20     assigned to that one particular.

  21     Q.        Okay.    So describe to the best of your

  22     recollection -- your recollection the events that led up

  23     to you escorting from Mr. Clowdus from that first

  24     flight.

  25     A.        Well, as I said before, we were standing at the


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   1     door of the aircraft in the jet bridge, the agents and

   2     myself waiting for the door to be closed.             Few seconds

   3     later that's when I -- we heard someone saying,             "You hit

   4     me.   You hit me."      We heard it twice.

   5               Immediately, my reaction was to go inside the

   6     aircraft to find out what was going on.            And that's when

   7     I noticed Flight Attendant Marino standing in the middle

   8     of the aisle in business class telling me that this

   9     passenger needs to come off.

  10               So he now came to the galley and I went to the

  11     passenger, Mr. Clowdus, to try to get more information,

  12     to find out what happened because at that point I was

  13     not getting too much information from the flight

  14     attendant.     All I heard is,     "He needs to come off."

  15               So I go to Mr. Clowdus and I ask him,           "What

  16     happened?"     And the impression I got at that point was,

  17     like, he was confused.        He didn't know exactly what was

  18     going on and we start from there.           So he said,    "I don't

  19     know what's going on.        I don't know what's going on."

  20               I went back now to the captain and to the flight

  21     attendant, to the galley, that's right in the front of

  22     the door.     And the flight attendant mentioned again,            "He

  23     hit me with a bag.       He needs to come off."

  24               I then asked the chief in command, the pilot,

  25     because he has a final word, I asked him,            "What do you


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